Case 13-17864-mdc        Doc 122      Filed 12/12/18 Entered 12/12/18 17:34:24            Desc
                                           Page 1 of 5




                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In re: ANNETTE PICCIANO                      §       Case No. 13-bk-17864
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


William C Miller, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 09/09/2013.

       2) The plan was confirmed on 07/31/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was completed on 09/25/2018.

       6) Number of months from filing or conversion to last payment: 60.

       7) Number of months case was pending: 63.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $31,668.78.

       10) Amount of unsecured claims discharged without full payment: $8,897.80.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
Case 13-17864-mdc        Doc 122     Filed 12/12/18 Entered 12/12/18 17:34:24             Desc
                                          Page 2 of 5




Receipts:
      Total paid by or on behalf of the debtor(s)          $ 101,059.40
      Less amount refunded to debtor(s)                           $ 0.00
NET RECEIPTS                                                                      $ 101,059.40



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                       $ 0.00
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                        $ 7,183.68
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                    $ 7,183.68

Attorney fees paid and disclosed by debtor(s):                $ 3,000.00



Scheduled Creditors:
Creditor                                        Claim        Claim        Claim     Principal    Interest
Name                               Class    Scheduled     Asserted     Allowed          Paid        Paid
DAVID L MARSHALL                   Lgl       3,000.00     3,000.00     3,000.00         0.00        0.00
CITIZENS BANK                      Uns       4,926.00     4,934.97     4,934.97     4,816.57        0.00
PORTFOLIO RECOVERY ASSO            Uns           0.00       924.04       924.04       901.87        0.00
CAPITAL ONE                        Uns           0.00       261.66       261.66       255.38        0.00
QUANTUM3 GROUP                     Uns           0.00       683.51       683.51       667.11        0.00
QUANTUM3 GROUP                     Uns           0.00       727.28       727.28       709.83        0.00
CAPITAL ONE BANK                   Uns           0.00       235.82       235.82       230.16        0.00
QUANTUM3 GROUP                     Uns           0.00       811.59       811.59       792.12        0.00
QUANTUM3 GROUP                     Uns           0.00       228.64       228.64       223.15        0.00
QUANTUM3 GROUP                     Uns           0.00       233.60       233.60       228.00        0.00
QUANTUM3 GROUP                     Uns           0.00       212.06       212.06       206.97        0.00
CAPITAL RECOVERY IV LLC            Uns           0.00        74.55        74.55        72.76        0.00
SN SERVICING CORP                  Sec     218,833.00   194,471.16   194,471.16    84,771.80        0.00
CAPITAL ONE                        Uns         587.00          NA           NA          0.00        0.00
CB/BON TON                         Uns         742.00          NA           NA          0.00        0.00
CB/EXPRESS                         Uns         243.00          NA           NA          0.00        0.00
C/B LIMITED                        Uns         259.00          NA           NA          0.00        0.00
CB VICSCRT                         Uns         282.00          NA           NA          0.00        0.00



UST Form 101-13-FR-S (9/1/2009)
Case 13-17864-mdc        Doc 122     Filed 12/12/18 Entered 12/12/18 17:34:24     Desc
                                          Page 3 of 5




Scheduled Creditors:
Creditor                                       Claim     Claim      Claim   Principal    Interest
Name                               Class   Scheduled   Asserted   Allowed       Paid        Paid
CITI/SHELL                         Uns      1,267.00       NA         NA        0.00        0.00
COMMENITY BANK/AMMNTYLR            Uns        843.00       NA         NA        0.00        0.00
COMENITY BANK/ANNIESEZ             Uns        728.00       NA         NA        0.00        0.00
GECRB/BANNA REP                    Uns        226.00       NA         NA        0.00        0.00
GECRB/BANNA REP                    Uns        226.00       NA         NA        0.00        0.00
GECRB/GAP                          Uns        148.00       NA         NA        0.00        0.00
KOHLS/CAPONE                       Uns        306.00       NA         NA        0.00        0.00
SPRINGLEAF                         Uns        913.00       NA         NA        0.00        0.00
SUNOCO /CITI                       Uns      1,730.00       NA         NA        0.00        0.00
TRI STATE ADJU                     Uns        174.00       NA         NA        0.00        0.00




UST Form 101-13-FR-S (9/1/2009)
Case 13-17864-mdc        Doc 122     Filed 12/12/18 Entered 12/12/18 17:34:24   Desc
                                          Page 4 of 5




Summary of Disbursements to Creditors:

                                              Claim             Principal         Interest
                                              Allowed           Paid              Paid
Secured Payments:
      Mortgage Ongoing                             $ 0.00            $ 0.00            $ 0.00
      Mortgage Arrearage                    $ 194,471.16       $ 84,771.80             $ 0.00
      Debt Secured by Vehicle                      $ 0.00            $ 0.00            $ 0.00
      All Other Secured                            $ 0.00            $ 0.00            $ 0.00
TOTAL SECURED:                              $ 194,471.16       $ 84,771.80             $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                $ 0.00            $ 0.00             $ 0.00
        Domestic Support Ongoing                  $ 0.00            $ 0.00             $ 0.00
        All Other Priority                        $ 0.00            $ 0.00             $ 0.00
TOTAL PRIORITY:                                   $ 0.00            $ 0.00             $ 0.00

GENERAL UNSECURED PAYMENTS:                   $ 9,327.72        $ 9,103.92             $ 0.00



Disbursements:

       Expenses of Administration             $ 7,183.68
       Disbursements to Creditors            $ 93,875.72

TOTAL DISBURSEMENTS:                                          $ 101,059.40




UST Form 101-13-FR-S (9/1/2009)
Case 13-17864-mdc          Doc 122      Filed 12/12/18 Entered 12/12/18 17:34:24               Desc
                                             Page 5 of 5




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 12/12/2018                        By: William C. Miller
                                             Chapter 13 Standing Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
